             Case 1:10-cv-00259-AWI-JLT Document 36 Filed 02/15/11 Page 1 of 1


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                        IN THE UNITED STATES DISTRICT COURT FOR THE
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                                EASTERN DISTRICT OF CALIFORNIA
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         LISA COBLE,                         )              1:10-CV-00259 AWI JLT
10                                           )
                           Plaintiff,        )              ORDER DENYING
11                                           )              DEFENDANTS’ MOTION TO
               v.                            )              DISMISS AND VACATING
12                                           )              FEBRUARY 28, 2011
         MARK DEROSIA, et al.,               )              HEARING DATE
13                                           )
                           Defendants.       )              [Doc. #21]
14       ____________________________________)
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16           Currently pending before this Court is Defendants’ motion to dismiss Plaintiff’s original
17   complaint. (Doc. 21.) This motion is set for hearing on February 28, 2011, at 1:30 p.m. in
18   Courtroom 2. On February 8, 2011, the Magistrate Judge granted Plaintiff’s motion to amend the
19   original complaint. (Doc. 24.) Plaintiff filed a First Amended Complaint on February 14, 2011.
20   (Doc. 32.)
21           In light of Plaintiff filing a First Amended Complaint, Defendants’ motion to dismiss
22   Plaintiff’s original complaint is DENIED as moot. IT IS HEREBY ORDERED that the
23   previously set hearing date of February 28, 2011, is VACATED, and the parties shall not appear
24   at that time.
25   IT IS SO ORDERED.
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     Dated:       February 15, 2011
27   0m8i78                                          CHIEF UNITED STATES DISTRICT JUDGE
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